     Case 1:15-cv-00359-NT Document 1 Filed 09/01/15 Page 1 of 2                     PageID #: 1



                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


SHIRLEY MICHAUD, individually, and                      )
as Personal Representative of the                       )
Estate of Bermel Michaud                                )
                                                        )
                   PLAINTIFF                            )
                                                        )
v.                                                      )       Civil Docket No.:
                                                        )
CALAIS REGIONAL HOSPITAL                                )
                                                        )
                   DEFENDANT                            )


                        COMPLAINT AND DEMAND FOR JURY TRIAL

         NOW COMES the Plaintiff, Shirley Michaud, individually, and as Personal

Representative of the Estate of Henn.el, by and through her undersigned attorneys, and complains

against Defendant as follows:

1.       Plaintiff is a resident of Calais, County of Washington, State of Maine.

2.       Upon information and belief, Defendant is a domestic, non-profit corporation, in good

         standing, with a principle place ofbusiness in Calais, County of Washington, State of

         Maine.

3.       Pursuant to F.R.Civ.P. 38(b), Plaintiff hereby demands trial by jury on all issues triable to

         a jury.

4.       This court has subject matter jurisdiction of this action under 28 U.S.C. § 1331 as this

         action arises under a law of the United States.

5.       Venue is proper in the District of Maine under 28 U.S.C. § 139l(b). Under Local Rule

         3 (b ), this action is properly filed in Calais because this case arises in Washington County.
     Case 1:15-cv-00359-NT Document 1 Filed 09/01/15 Page 2 of 2                    PageID #: 2



6.       On or about November 20, 2013, the decedent, Hermel Michaud was taken to the

         emergency department at Calais Regional Hospital via ambulance for complaints of

         having suffered a brief syncope episode, respiratory arrest for approximately two minutes

         and a slight seizure while receiving dialysis.

7.       Defendant diagnosed Mr. Michaud with acute syncope, unknown cause, and discharged

         him to home; failing to admit him for observation after suffering a syncope event where

         respiratory arrest occurred, failed to obtain a cardiac consult when tests indicated the

         need and failed to have Mr. Michaud sign an AMA upon discharge, in violation of the

         Emergency Medical Treatment and Active Labor Act (EMTALA), 42 U.S.C. § 1395dd.

8.       As a direct and proximate result of the Defendant's conduct and violation ofEMTALA,

         Plaintiff has suffered damages.

         WHEREFORE, Plaintiff prays for judgment against Defendant for damages in such

         amount as may be shown by proof, for wrongful death, compensatory damages, loss of

         consortium, attorneys' fees, costs, interest, and such other and further relief as may be

         just and equitable in the premises.



   September 1, 2015                                                 Isl Owen Pickus, DO., Esq.
Date                                                           Owen Pickus, DO., Esq.
                                                               Amber L. Tucker, Esq.

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